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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                CRIMINAL MINUTES ‐‐ GENERAL

Case No.      CR 07‐1048‐VBF                                                   Dated: May 12, 2008

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PRESENT: HONORABLE VALERIE BAKER FAIRBANK, U. S. DISTRICT JUDGE

       Rita Sanchez                        Mary Rickey                         John Lulejian
     Courtroom Deputy                     Court Reporter                      Shawn Nelson
                                                                            Asst. U.S. Attorney



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U.S.A. vs (Dfts listed below)                        Attorneys for Defendants

1)      James Lanzo Turner                           1)     Cornell Price
        Present ‐ Custody                                   s/a by Brian Newman
                                                            Present ‐ Appointed

2)      David Cole, Jr.                              2)     Edward Robinson
        Present ‐ Bond                                      Present ‐ Appointed

4)      Lashawn Andrea Lynch                         4)     Alan Eisner
        Present ‐ Bond                                      Present‐ Appointed

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PROCEEDINGS:         STATUS CONFERENCE RE TRIAL

        Case called and counsel make their appearance. Court and counsel discuss the status of the
case.

       The court sets a further status conference for June 23, 2008 at 11:00 am. The Defendants are
each ordered to return without further notice. The trial date of July 1, 2008 remains.

        IT IS SO ORDERED.

MINUTES FORM 6                                                                Initials of Deputy Clerk RS
CRIM -- GEN                                                                                         :4
